Case 3:07-cv-02440-EDL Document16-5 Filed 08/30/2007 Page 1 of 2

Exhlblt C

JQN 21 2@@3 14=2'? FR EJ@ 925£3@6@649 TO 14158828'?8'7 P. @‘3/13

 

CARRIER §LAMMING PRC)TEC'TIOH FORM
FOR LARGE EUSINESS CUSTOMERS

Customer' Narne:DQ-inw‘_‘/\M§W billing Telephone No: Ly/[§`»~ 313 Z-‘;?QU

Dear Customer:

"‘Slamrning“ is a practice in wh

_ lch your local toll and/or long-distance service provider is switched
Wlthout your permission.

1. al Chec:l< here to authorize LPIC Slamming 'Protecl;lon tor local toll service on account With
Billlng 'l`elephone l\lurnber' (BTN) ~ ‘i» 1 ~ __ ._ and all Worl<lng telephone numbers

associated With this Billing Telephone l\lumber l (Please attach list of Worl<ing Telephone
Numbers) '

2. ¢Check here to authorize PIC Slarrlrnlng Protection for ion
with Billing Telephone Number (BTN "“. ~,, Z. 3.

associatedwith this Ellling Teiephone number. (Plaase attach list of Worl<ing Telephone
Numbers) 1

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Authonzed Si§nature h

 

I also authorize SBC Calif`ornia to provide LPIC/PIC Slammlng Protectlon as checked above tofany

future ol;l<ingz`elephone numbers associated with the above Elilllng Telephone Number, from this
date: *Qb_____ onward, or until I give notlce to SBC California to stop.

AUthOfl'ZEd Slglli:`lti.i|'& / CJ,/'_\.

Customer blame (PRINT): s . `\_s 1 l_ 1 _“" 1 1

 

 

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Company Bllling Name: _ b '~.‘!,~ CM. ! .._..1 1411
Company Bl`lllng Address: 4 . _ .1_11 1_91.;¢ h 5
iu “.F.§.A "'""" . a

 
   

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Return this form to: SBC Cali'l’omia

~<address>
<address:>

Qr FAX to: ‘§"Z§* 253 ij 25th

Form Retentlon Period: 2 years

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